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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                          *
  LESLIE HUGHES-KENNEDY,

                       Plaintiff,

                -against-                              NOTICE OF VOLUNTARY DISMISSAL

  GC SERVICES, LP,                                     Case No. 2:15-cv-02504-LDW-ARL

                       Defendant.




        LESLIE HUGHES-KENNEDY (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and

  pursuant to FRCP 4l(a)(I)(A) (Dismissal of Actions-Voluntary Dismissal By Plaintiff Without

  Court Order) voluntarily dismisses, with prejudice, GC SERVICES (Defendant), in this case.

                Both sides to bear their own costs and expenses.


                                              RESPECTFULLY SUBMITTED,

                                       By:   /s/ Shireen Hormozdi
                                             Shireen Hormozdi Esq.
                                             Krohn & Moss, Ltd.
                                             I 0474 Santa Monica Blvd., Ste. 405
                                             Los Angeles, CA 90025
                                             Tel.: (323) 988-2400
                                             Fax: (866) 861-1390
                                             shormozdi@consumerlawcenter.com
                                             Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October I 2, 2015, I electronically filed the foregoing Notice of

  Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

  Notice was electronically submitted to all parties by the Court's CM/ECF system.


                                                               s/ Shireen Hormozdi
                                                               Shireen Hormozdi, Esq.
                                                               Attorney for Plaintiff




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